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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  IN RE:                              *
                                      *
  CASSANDRA JOHNSON LANDRY.           *                 Chapter 7
                                      *                 Case No. 18-55697-lrc
                          Debtor,     *                 Judge Lisa Ritchey Craig
  ____________________________________*
  GEORGIA DEPARTMENT OF               *
  COMMUNITY HEALTH,                   *
                                      *                 Adv. No. ____________________
                          Plaintiff,  *
  v.                                  *
                                      *
  CASSANDRA JOHNSON LANDRY,           *
                                      *
                          Defendant.  *


                 COMPLAINT TO DETERMINE DISCHARGEABILITY
                OF DEBT UNDER 11 U.S.C. § 523(a) AND FOR JUDGMENT

             COMES NOW, the Georgia Department of Community Health, (“the

  Department”), in the above-styled case, by and through counsel, Christopher M. Carr,

  Attorney General of the State of Georgia, objects to the discharge of the debt owed by

  Cassandra Johnson Landry, (“Defendant-Debtor”), pursuant to 11 U.S.C. § 523(a) and

  Fed. R. Bankr. P. 7001(6), and shows the Court as follows:


                                       JURISDICTION

                                               1.

             Pursuant to 28 U.S.C. § 157 and 28 U.S.C. § 1334, this Court has jurisdiction to

  determine the rights of the parties as to a determination of dischargeability of Defendant-

  Debtor’s debt under 11 U.S.C. § 523(a).




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                                                2.

           Venue is property as provided by 28 U.S.C. 1409(a).

                                                3.

           This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (I), and (O).

                                                4.

           This is an action pursuant to 11 U.S.C. § 523(a)(2)(A) and § 523(a)(2)(B), as

  provided by Fed. R. Bankr. P. 4007(a) and (b), and Fed. R. Bankr. P. 7001(6).

                                 GENERAL ALLEGATIONS

                                                5.

           The Department incorporates ¶¶ 1- 4 by reference as if fully restated.

                                                6.

           Defendant-Debtor’s bankruptcy address of record shows she is a resident of

  Gwinnett County with an address of 869 Natchez Valley Trace, Grayson, Georgia,

  30017.

                                                7.

           Defendant-Debtor, acting Pro Se, filed a Chapter 13 petition on April 3, 2018,

  (Case No. 18-55697-lrc). Defendant-Debtor requested that her case be converted to a

  Chapter 7. [Notice of Conversion, d.e. # 72]. Defendant-Debtor’s bankruptcy case was

  converted to a Chapter 7 case on September 14, 2018.            The Defendant-Debtor has

  continued to represent herself throughout this bankruptcy case.

                                                8.

           Defendant-Debtor filed her Bankruptcy Schedules on April 3, 2018, and

  attempted to schedule the Department as a creditor. It appears that Defendant-Debtor




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  attempted to schedule the Department with notice to the Georgia Department of

  Behavioral Health, Two Peachtree St. NW, 24th Floor, Atlanta, GA, 30303.

                                                 9.

            The deadline for creditors seeking a determination for the dischargeability of a

  debt in this Chapter 7 case is December 17, 2018.

                                                 10.

            On September 19, 2018, the Department filed a proof of claim, (“Claim # 20-1”),

  showing a debt of $42,634.37 for overpayment of Medicaid claims.

                                                 11.

            “Overpayment” means a payment to a provider that includes a payment “for a

  service for which reimbursement is not available under the State [Medicaid] Plan or other

  policy of the Division.” See Medicaid Manual,1 Part 1, Section entitled “Definitions,”

  No. 56.

                                                 12.

            The Department’s Claim #20-1 is prima facie correct. In re Richardson, 2007

  Bankr. LEXIS 5054 (Bankr. S.D. Ga. June 21, 2007). In re Nejedlo, 324 B.R. 697, 699

  (Bankr. E.D. Wis. 2005).

                                                 13.

            The Department’s Claim #20-1 is allowed as-filed unless or until entry of an order

  to the contrary.




  1
   Georgia Medicaid Manuals can be found at
  https://www.mmis.georgia.gov/portal/PubAccess.Provider%20Information/Provider%20Manuals/tabId/54/
  Default.aspx



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                                                    14.

          The Department is an agency2 of the State of Georgia and, among other things, is

  responsible for administering the Medicaid Program in the State of Georgia. O.C.G.A. §

  31-5A-4.

                                                    15.

          The Department is charged with the administration and supervision of the Georgia

  Medicaid Plan in accordance with the requirements of Title XIX of the Social Security

  Act of 1935, as amended, and O.C.G.A. § 49-4-1 et seq. See 42 C.F.R. § 431.10(e); and

  O.C.G.A. § 49-2-11(f).

                                                    16.

          The Department is authorized to establish such rules and regulations as may be

  necessary or desirable to execute the State Medicaid Plan and to enter into such

  reciprocal and cooperative arrangements with other states, persons, and institutions,

  public and private, as it may deem necessary or desirable in order to execute the State

  Medicaid Plan. Ga. Comp. R. & Regs. R. 350-1-.02 (2016).

                                                    17.

          Medicaid provides medical assistance to certain individuals with low income and

  resources. See Medicaid Manual, Part 1, Chapter 100, Section 101.

                                                    18.

          The Department is tasked with, among other things, overseeing the integrity of the

  Medicaid Program, including the appropriateness of payments.



  2
    There are four health care agencies serving Georgia. They are: the Department of Community Health, the
  Department of Behavioral Health and Developmental Disabilities, the Department of Human Services, and
  the Department of Public Health.


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                                              19.

         The Department pays enrolled providers within numerous reimbursable categories

  for covered services furnished to eligible members.    See Medicaid Manual, Part 1,

  Chapter 100, Section 104.

                                              20.

         In order to receive reimbursement through the Medicaid Program, a provider must

  be enrolled with the Department in an appropriate service category.     See Medicaid

  Manual, Part 1, Chapter 100, Section 105.

                                              21.

         A provider may enroll in the Medicaid Program by submitting an application to

  the Department. Id.

                                              22.

         Approval of the application is contingent upon verification of a provider’s

  compliance with all policy requirements and may include a site audit of the provider’s

  place of business. Id.

                                              23.

         The Department does not enroll group practices in the fee for service program.

  Id.

                                              24.

         Each provider must enroll at each location where services are provided to

  Medicaid members. Id.




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                                               25.

         Alliance for Change Through Treatment, LLC, (“ACTT”), submitted an

  Enrollment Application, (“Application”), to the Department on or about January 1, 2013.

  See Exhibit A attached hereto.

                                               26.

         Pursuant to the Application, Cassandra Johnson-Landry, Defendant-Debtor, is a

  50% owner of ACTT, along with her partner, Jeffrey E. Atkinson, who is the other 50%

  owner of ACTT. Id. at pg. 4.

                                               27.

         Pursuant to the Application, Defendant-Debtor’s title and role in ACTT was as

  CEO and Managing Partner.

                                               28.

         ACTT is a limited liability company that has been registered with the Georgia

  Secretary of State since January 10, 2006. See Exhibit B attached hereto.

                                               29.

         ACTT filed Amended Articles of Organization, (“Articles”), with the Georgia

  Secretary of State on August 16, 2007. Id.

                                               30.

         The Articles show that the management of ACTT is vested in Defendant-Debtor,

  Cassandra Johnson-Landry, and Jeffrey Eugene Atkinson. Id.

                                               31.

         ACTT entered into a contract with the Department called a Statement of

  Participation, also known as a Provider Agreement, whereby Defendant-Debtor enrolled




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  in the Georgia Medicaid Program in order to render covered services to eligible Medicaid

  recipients under certain categories of service, and sought reimbursement for rendering

  such services. See Exhibit C attached hereto.

                                                 32.

            In 2004, Defendant-Debtor became an eligible provider enabling her to provide

  medical services to members under the Georgia Medicaid Program.

                                                 33.

            Since 2004, Defendant-Debtor has participated as a provider in the Georgia

  Medicaid Community Behavioral Health and Rehabilitation Services program through

  Medicaid Provider number xxxxxx294A.

                                                 34.

            Since 2004, Defendant-Debtor also participated as a provider in the Community

  Based Alternatives for Youth program through Medicaid Provider number xxxxxx294B.

                                                 35.

            Providers under the Georgia Medicaid Program are required to renew their

  Provider Enrollment Application and Statement of Participation contract with the

  Department annually, or as required by Georgia or Federal law, rule, regulation, or

  policy.

                                                 36.

            Defendant-Debtor subsequently renewed her Provider Enrollment Application

  and Statement of Participation with the Department annually, or as required by Georgia

  or Federal law, rule, regulation, or policy.




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                                           37.

         On January 25, 2015, the Department terminated ACTT from participating as a

  provider in the Georgia Medicaid Community Behavioral Health and Rehabilitation

  Services program through Medicaid Provider number xxxxxx294A.

                                           38.

         On January 25, 2015, the Department also terminated ACTT from participating as

  a provider in the Community Based Alternatives for Youth program through Medicaid

  Provider number xxxxxx294B.

                                           39.

         ACTT appealed and requested a hearing of the Department’s decisions to

  terminate ACTT from participation as an approved Behavioral Health provider in the

  Georgia Medicaid Community Behavioral Health and Rehabilitation Services program

  providing Children and Adolescent Core and Intensive Family Intervention Services

  through Medicaid Provider Number xxxxxx294A; and as a provider in the Community

  Based Alternatives for Youth Services program through Medicaid Provider Number

  xxxxxx294B.

                                           40.

         On June 21-23, 2016, an administrative hearing was held before an administrative

  law judge.    The Department was represented by Counsel.        Defendant-Debtor was

  represented by Counsel.

                                           41.

         On August 3, 2017, the Administrative Law Judge, Richard L. Greene, entered an

  18 page Notice of Final Administrative Decision and Notice of Right to Appeal,




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  (“Administrative Decision”), affirming the Department’s decision terminating ACTT’s

  Statement of Participation and its two Medicaid Provider Enrollment numbers. See

  Exhibit D attached hereto. The effect of the Administrative Decision was that ACTT

  was terminated from participating as a provider in Georgia’s Medicaid Program.

                                                 42

          ACTT did not appeal the Administrative Decision. Therefore, the Administrative

  Decision became final thirty days later, on or about September 4, 2017. O.C.G.A. §§ 49-

  4-153 and 50-13-19.

                                                 43.

          While acting as a provider in Georgia’s Medicaid Program, as a condition of her

  contract with the Department, Defendant-Debtor was and remains responsible for

  compliance with all State and Federal Medicaid rules, regulations, laws, policies, and

  procedures.

                                                 44.

          Defendant-Debtor, as a Georgia Medicaid Provider, agreed to comply with all of

  the Department’s requirements applicable to the categories of service in which she would

  participate under the Statement of Participation, and with any and all state and federal

  manuals, including Part I, Part II, and the applicable portions of Part III of the Georgia

  Medicaid Manuals,3 and with any amendments thereto. See Exhibit C, Section 2 entitled

  “Provider’s Obligations,” Sub-Section A.




  3
   Georgia Medicaid Manuals can be found at
  https://www.mmis.georgia.gov/portal/PubAccess.Provider%20Information/Provider%20Manuals/tabId/54/
  Default.aspx


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                                               45.

         Defendant-Debtor agreed that the Statement of Participation, together with the

  Department’s Policies and Procedures manuals, any program specific manuals, all

  enrollment documents, and any amendments thereto, would constitute the entire

  agreement between the Parties with respect to the subject matter contained therein. See

  Exhibit C, Section 4 entitled “General Provision,” Sub-Section K.

                                               46.

          The Department does not enroll group practices in the fee for service program.

  Each Provider must enroll at each location where services are provided to

  Medicaid/PeachCare for Kids members. See Medicaid Manual, Part I, Chapter 100,

  Section 105.1(A),

                                               47.

         A “provider” means any individual or entity furnishing Medicaid services

  pursuant to a Statement of Participation (provider agreement) with the Department. See

  Medicaid Manual, Part I, Section entitled “Definitions,” No. 65.

                                               48.

         Defendant-Debtor, while enrolled in the Georgia Medicaid Program, was

  considered a provider.

                                               49.

         According to the Georgia Medicaid Manual, an “owner (ownership interest)”

  means a person or corporation with an [interest] or control interest that:

     a. Has an ownership interest totaling 5 percent or more in a disclosing entity;
     b. Has an indirect ownership interest equal to 5 percent or more in a
        disclosing entity;




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     c. Has a combination of direct and indirect ownership interests equal to 5
        percent or more in a disclosing entity;
     d. Owns an interest of 5 percent or more in any mortgage, deed of trust, note,
        or other obligation secured by the disclosing entity if that interest equals at
        least 5 percent of the value of the property or assets of the disclosing
        entity;
     e. Is an officer or director of a disclosing entity that is organized as a
        corporation; or
     f. Is a partner in a disclosing entity that is organized as a partnership.

                                              50.

     Defendant-Debtor, while enrolled in the Georgia Medicaid Program, was considered

  an owner of ACTT as she fell within the definition of “owner.”

                                              51.

         Pursuant to Part I, Chapter 100, Section 106(L), of Georgia’s Medicaid Manual,

  as a general condition of participation, all enrolled providers must:

         “accept responsibility for every claim submitted to the Division that bears
         the provider’s name or Medicaid/PeachCare for Kids provider number.
         Submission of a claim by a provider or his agent, acceptance of a
         Remittance Advice, or acceptance of claim payments constitutes
         verification that the services were performed by that provider (or under his
         direct supervision, if allowed by the Division) and that the provider
         authorized submission of the claim for reimbursement. Remittance
         Advices shall be deemed accepted if the provider does not notify the
         Division or its third party administrator to the contrary in writing within
         ninety (90) days after their issuance. Payments shall be deemed accepted
         when cashed, negotiated, or deposited, including those payments
         deposited electronically.”

                                              52.

         Providers are personally responsible for every claim they submit to the

  Department.

                                              53.

         Defendant-Debtor is personally responsible for every claim that she, her agent,

  her company, including ACTT, submitted to the Department.



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                                            54.

         Defendant-Debtor submitted claims to the Department for payment totaling at

  least $42,634.37.

                                            55.

         Pursuant to Part I, Chapter 100, Section 106(M), of Georgia’s Medicaid Manual,

  as a general condition of participation, all enrolled providers must, “refund any

  overpayments to the Division within required timeframes.”

                                            56.

         Providers are personally responsible for returning any overpayment received to

  the Department.

                                            57.

         Defendant-Debtor is personally responsible for returning to the Department any

  overpayments she, her agent, her company, including ACTT, received from the

  Department.

                                            58.

         Defendant-Debtor received overpayments totaling at least $42,634.37.        See

  Exhibit E attached hereto.

                                            59.

         Defendant-Debtor is personally responsible for returning at least $42,634.37 in

  overpayments to the Department.

                                            60.

         Overpayment determinations are appealable within 30 days of the date of the

  denial of claim payment. See Medicaid Manual, Part I, Chapter 500, Section 502(A), ¶ 3.




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                                               61.

         Failure to appeal, or appeal timely, constitutes a waiver of any and all future

  appeal rights, including the right to an administrative hearing. See Medicaid Manual,

  Part I, Chapter 505, Section 502(A), ¶ 3.

                                               62.

         Defendant-Debtor did not appeal the overpayment determinations totaling at least

  $42,634.37. Therefore, the overpayments determinations totaling at least $42,634.37 are

  final, and must be refunded to the Department. Overpayments can be refunded by

  providers via lump sum payment to the Department or the Department can recoup the

  overpayments from future Medicaid payments made to providers.

                                               63.

         This Court should give preclusive effect to the Department’s overpayment

  determination.

                             COUNT I: 11 U.S.C. § 523(A)(2)(A)

                                           64.
         The Department incorporates by reference ¶¶ 1-63 as if fully restated.

                                               65.

         Pursuant to 11 U.S.C. § 523(a)(3)(B), the Department may obtain a determination

  of dischargeability regarding a kind of debt specified in § 523(a)(2)(A). Fed. R. Bankr.

  P. 4007(b).

                                               66.

         Section 523(a)(2)(A) excepts from discharge any debt for money, property,

  services, or refinancing of credit, to the extent obtained by false pretenses, a false




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  representation, or actual fraud, other than a statement respecting the debtor’s or an

  insider’s financial condition.

                                      FALSE PRETENSES

                                              67.

         “False pretense” involves implied misrepresentation or conduct intended to create

  and foster a false impression. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr. D. Neb.,

  March 20, 2009).

                                              68.

         Defendant-Debtor’s submission of false claims amounted to false pretenses.

                                   FALSE REPRESENTATION

                                              69.

         A “misrepresentation” is not only words spoken or written, but also any other

  conduct that amounts to an assertion not in accordance with the truth. In re Palermo,

  2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                              70.

         Defendant-Debtor’s submission of false claims amounted to misrepresentation.

                                            FRAUD

                                              71.

         To establish fraud within the context of 523(a)(2)(A), a creditor has the burden of

  proving, by a preponderance of the evidence, the following: “(1) a representation of fact

  by the debtor, (2) that was material, (3) that the debtor knew at the time to be false, (4)

  that the debtor made with the intention of deceiving the creditor, (5) upon which the

  creditor relied, (6) that the creditor’s reliance was justifiable, and (7) that damage




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  proximately resulted from the misrepresentation.” See In re Dixon, 525 B.R. 827, 840

  (N.D. Ga. 2015), [quoting In re Holmes, 414 B.R. 115, 130 (E.D. Mich. 2009)].

                                            72.

         Defendant-Debtor’s submission of false claims amounted to actual fraud.

                                   REPRESENTATION

                                            73.

         A “claim” includes any request or demand, made orally, in writing, electronically,

  or magnetically, for money which is made to the Georgia Medicaid program.

                                            74.

         The Medicaid claims submitted by Defendant-Debtor were written representations

  that Defendant-Debtor had provided the services for which she sought compensation.

                                            75.

         Defendant-Debtor made representations to the Department by the submission of

  claims for payment.

                                     FALSE CLAIMS

                                            76.

         False or fraudulent Medicaid claims include, any person who “knowingly presents

  or causes to be presented to the Georgia Medicaid program a false or fraudulent claim for

  payment or approval.” O.C.G.A. § 49-4-168.1(a)(1).

                                            77.

         Defendant-Debtor made false representations to the Department by submission of

  false claims for payment.




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                                         MATERIAL

                                              78.

         “Material” means having a natural tendency to influence, or be capable of

  influencing, the payment or receipt of money or property. O.C.G.A. § 49-4-168(3).

                                              79.

         Defendant-Debtor’s knowing submission of false claims to the Department for

  payment was material.

                                       KNOWLEDGE

                                              80.

         “Knowing” and “knowingly” requires no proof of specific intent to defraud and

  means that a person, with respect to information: “(A) has actual knowledge of the

  information; (B) acts in deliberate ignorance of the truth or falsity of the information; or

  (C) acts in reckless disregard of the truth or falsity of the information.” O.C.G.A. § 49-

  4-168(2).

                                              81.

         Defendant-Debtor knew the information in the claims was false when she

  submitted them.

                                              82.

         Defendant-Debtor knowingly submitted false claims for payment to the

  Department.




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                                          INTENT

                                             83.

         The “intent” element merely requires an intent to induce a creditor to rely and act

  on the misrepresentation(s) in question. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr.

  D. Neb. 2009).

                                             84.

         Creditor may present evidence of the surrounding circumstances from which

  intent may be inferred. In re Palermo, 2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                             85.

         “Intent to deceive can be inferred when the debtor makes a false representation

  and knows or should know that the statement will induce another to act.” In re Palermo,

  2009 Bankr. LEXIS 695, (Bankr. D. Neb. 2009).

                                             86.

         Intention to deceive a creditor must exist at the time of the misrepresentation, and

  be actual, not implied, though gross recklessness may be sufficient. See In re Dixon, 525

  B.R. 827, 840 (N.D. Ga. 2015), [quoting In re Holmes, 414 B.R. 115, 130 (E.D. Mich.

  2009)]. “Courts should look to the totality of the circumstances to determine intent.” Id.

                                             87.

         Defendant-Debtor’s knowing submission of false claims to the Department for

  payment was intentional.




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                                 JUSTIFIABLE RELIANCE

                                              88.

           The Department relied on the veracity of each claim submitted by Defendant-

  Debtor

                                              89.

           The Department had no reason to believe that the claims being submitted by

  Defendant-Debtor were false claims.

                                              90.

           The Department’s reliance was justified.

                                              91.

           The Department justifiably relied on Defendant-Debtor’s representation that each

  claim submitted was accurate, and that is was not a false claim.

                                        OBLIGATION

                                              92.

           “Obligation” means an established duty, whether or not fixed, arising from an

  express or implied contractual, grantor-grantee, or licensor-licensee relationship, from a

  fee based or similar relationship, from statute or regulation, or from retention of any

  overpayment. O.C.G.A. § 49-4-168(4).

                                              93.

           Defendant-Debtor had a duty from retention of any overpayment.

                                              94.

           Defendant-Debtor had an obligation to refund overpayment of claims.




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                                             95.

         Defendant-Debtor failed to comply with Georgia’s Medicaid Program

  requirements by failing to refund Medicaid overpayments to the Department.

                                            LOSS

                                             96.

         The Department overpaid false claims submitted by Defendant-Debtor.

                                             97.

         The Department suffered financial loss by overpayment of false claims that were

  submitted by Defendant-Debtor.

                                             98.

         The Department suffered damages in the amount of at least $42,634.37.



         WHEREFORE, the Georgia Department                of Community Health, (“the

  Department”), respectfully prays:

         (1)     That the debt owed by Defendant-Debtor in the total amount of at least

  $42,634.37 be excepted from discharge, as it falls within the purview of 11 U.S.C. §

  523(a)(2);

         (2)     That Defendant-Debtor’s discharge under Chapter 7 as to the debt owed to

  the Department should be denied, pursuant to 11 U.S.C. § 727(b);

         (3)     For entry of a money judgment against Defendant-Debtor in favor of the

  Department in the total amount of at least $42,634.37, plus civil penalties, damages,

  interest, attorney fees and costs, pursuant to O.C.G.A. § 49-4-168.1(c); and




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            (4)    That it be granted such other and further relief as the Court deems just and

  proper.

            This 17th day of December, 2018.


                                                 Respectfully submitted,

                                                 CHRISTOPHER M. CARR                   112505
                                                 Attorney General

                                                 W. WRIGHT BANKS, JR.                 036156
                                                 Deputy Attorney General

                                                 /s/ Julie Adams Jacobs_________________
                                                 JULIE ADAMS JACOBS                003595
                                                 Senior Attorney General

                                                 /s/Whitney Groff______________________
                                                 WHITNEY GROFF                   738079
                                                 Assistant Attorney General




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